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AFFIRMATION OF SERVICE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Index Number: 1:24-CV-08412 Date Filed: 11/6/2024
Plaintiff:

Tavon Turner, on behalf of himself and all others similarly situated

vs.

Defendant:

State of Mind Dispensary, LLC

State of New York, County of Albany)ss.:

Received by Meridian Investigations & Security to be served on State Of Mind Dispensary, LLC.

|, Patricia Burke, do hereby affirm that on the 29th day of November, 2024 at 3:15 pm, I:

served the within named Limited Liability Company, State Of Mind Dispensary, LLC by delivering two
true copies of the Summons in a Civil Action, Class Action Complaint and Demand for Jury Trial
pursuant to New York State Section 303 LLCL together with statutory service fee in the amount of
$40.00 to Sue Zouky as Business Document Specialist 2 of New York State Department of State, 99
Washington Avenue, 6th Floor, Albany, NY 12210. The New York State Department of state being the
Registered Agent/Statutory Agent of record of the within named limited liability company, in compliance
with state statutes.

Description of Person Served: Age: 70, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 150, Hair:
Brown, Glasses: N

| certify that | am over the age of 18, have no interest in the above action.

| affirm on _- laladed , under the penalties of perjury under the laws of New York, which may
include a fine or imprisonment, that the foregoing is true, and | understand that this document may be filed
in an action or proceeding in a court of law.

pie Burke
rocess Server
Meridian Investigations & Security

48 Davis Avenue
Port Washington, NY 11050

Our Job Serial Number: SRN-2024006467

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